
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 95-1606

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                 WILLIAM H. CARVELL,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge] 
                                            ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                           Stahl and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            James R. Bushell for appellant.
            ________________
            Helene Kazanjian, Assistant United States Attorney, with whom  Jay
            ________________                                               ___
        P.  McCloskey,  United  States   Attorney,  and  George  T.  Dilworth,
        _____________                                    ____________________
        Assistant United  States  Attorney,  were on  brief,  for  the  United
        States.


                                 ____________________

                                   January 19, 1996
                                 ____________________

                      LYNCH,  Circuit Judge.   William  Carvell, a  fifty
                      LYNCH,  Circuit Judge.
                              _____________

















            year old Maine  farmer, was sentenced  to prison for  seventy

            months on  marijuana  charges.   The  question on  appeal  is

            whether the Sentencing Guidelines prohibited the trial  judge

            from exercising discretion to depart downward in the sentence

            given.  Carvell  pled guilty to growing  marijuana, saying it

            was for his  own use  to combat his  depression and  suicidal

            tendencies.  The trial  judge concluded that, as a  matter of

            law,  the Guidelines' "drug  dependency" prohibition overrode

            any  downward departure under  the "lesser  harms" provision.

            The  judge  also noted  that, but  for the  "drug dependency"

            departure prohibition,  he would  have  reduced the  sentence

            through a downward  departure.   We hold that  the court  did

            have  authority to  consider a  downward departure  under the

            "lesser   harms"   provision   and  return   the   case   for

            resentencing.  

                      Carvell also  raises for  the first time  on appeal

            the  argument that  the  marijuana manufacturing  statute, as

            applied  to him, is invalid in the aftermath of United States
                                                            _____________

            v. Lopez, 115 S. Ct. 1624 (1995).  We decline to go down that
               _____

            path.

                      Having  never lived  anywhere but  his family  farm

            (save  during his  nine  month  marriage),  and eking  out  a

            subsistence living,  Carvell  grew crops  and  produced  some

            marijuana on  his  six  acre  family farm  in  Lyman,  Maine.

            Carvell  lived there with his mother and with his father, for



                                         -3-
                                          3















            whom  he had  cared as  the father's  death came.   Carvell's

            formal  education stopped with high school; and his only pre-

            arrest work experience, other  than on the farm, was  a brief

            stint at the Portsmouth Naval Shipyard.

                       Law   enforcement   officials,   acting    on   an

            informant's tip  and an aerial  overview of the  farm, raided

            the  farm and found 467  marijuana plants, an Excedrin bottle

            containing marijuana seeds, some growing supplies and smoking

            paraphernalia and some more  marijuana in the barn.   Because

            the Sentencing Guidelines count each plant as equivalent to 1

            kilogram,  the  plants, together  with  the other  marijuana,

            amounted  to  468  kilograms  of  marijuana  attributable  to

            Carvell.1  U.S.S.G.   2D1.1(c) (Nov. 1994).

                      Carvell  was  arrested  on Halloween  in  1994  and

            indicted on one count of knowingly "manufacturing" marijuana.

            21 U.S.C.     841(a)(1) &amp; (b)(1)(B).  Carvell cooperated with

            the police, the Maine Drug  Enforcement Agency, and the  U.S.

            Attorney, and pled guilty.



                                
            ____________________

            1.  In fact the plants weighed 67 pounds or 30 kilograms, but
            the  Guidelines require  that each  plant be  counted  as one
            kilogram when  the offense  involves more than  fifty plants.
            U.S.S.G.   2D1.1(c).  This  is because "Congress intended  to
            punish growers  of marihuana  by  the scale  or potential  of
            their  operation and not just by the  weight [or size] of the
            plants  seized at a given moment."  United States v. McMahon,
                                                _____________    _______
            935  F.2d 397,  401 (1st  Cir.)(citation and  quotation marks
            omitted; alteration in original),  cert. denied, 502 U.S. 897
                                               _____ ______
            (1991).  The district court here took judicial notice that in
            fact plants may not produce one kilogram each.

                                         -4-
                                          4















                      During the time  after his preliminary hearing  and

            before his  plea, Carvell  was released from  custody on  the

            condition that  he not use marijuana.   Consequently, Carvell

            became depressed  and suicidal and was admitted  to the Maine

            Medical  Center.    He  was  kept  for  two  weeks,  received

            medications and therapy and was released to jail.

                      At his sentencing  hearing, Carvell testified  that

            he suffered from severe depression  since the mid 1960's  and

            that his illness made  him feel suicidal.  He  sought medical

            help  in  1968,  was  diagnosed  as  suffering  from  chronic

            depression and  was  prescribed  medication.    Carvell  also

            testified that he became ill from the medication and that his

            physician  recommended that  he  use marijuana  to treat  his

            depression.  He tried it, found that it helped and so he kept

            on.  In 1970  Carvell was arrested for selling  three fourths

            of a pound  of marijuana and was remanded to the state prison

            in   Thomaston,  Maine   for   nine  months.     During   his

            incarceration  he was  told by  the prison  psychiatrist that

            marijuana relieved depression.  In 1988,  he was arrested for

            cultivating marijuana and sentenced  to five years in prison.

            Carvell continued to use marijuana  in violation of the terms

            of  his  probation  under the  1988  sentence.    As for  the

            marijuana he grew in 1994, he said it was to insure he had an

            adequate  supply  to  get  him  through  the  year.   Carvell

            admitted  that  he  intermittently  sold  some  marijuana  to



                                         -5-
                                          5















            friends  without making a profit, saying it was mostly to the

            same person, also suffering  from depression.  The government

            did not contest Carvell's claim of psychiatric illness.  

                      Carvell,   under  new  medication  from  the  Maine

            Medical Center, addressed the district court, saying:

                      [T]he only reason I used marijuana was to
                      keep  from being  suicidal, and  that now
                      that I  have found  a   proper medication
                      that really  works . . .  I don't believe
                      that  I would ever  be tempted  . .  . in
                      breaking the law to treat my depression.

            The district court found Carvell credible, that Carvell had a

            history of major depression,  that he had been advised  by at

            least one  doctor that marijuana was  an effective treatment,

            that   Carvell  had  not   previously  found  an  alternative

            medication and  that Carvell was sincere both in stating that

            he used marijuana to  prevent himself from attempting suicide

            and in believing he no longer needed marijuana.

                      The district court concluded:

                      Were 5H1.4 not so  clear, I would grant a
                      departure under 5K2.11, the  lesser harms
                      policy statement . .  . . I am absolutely
                      convinced, in light of the testimony I've
                      heard,   that   Mr.   Carvell   sincerely
                      believed that  he  had a  severe  medical
                      problem  that would lead him to seriously
                      consider suicide, and  that to avoid that
                      situation  he  committed  the   crime  of
                      providing  for  himself  marijuana.   The
                      policy statement [section 5K2.11] goes on
                      to  say,  "In  such  instances  a reduced
                      sentence  may  be  appropriate,  provided
                      that   the  circumstances   significantly
                      diminish society's  interest in punishing
                      the conduct."   I  would find that  to be
                      the  case here . . . . [F]or all of those


                                         -6-
                                          6















                      reasons,  I  would depart  downward under
                      the  lesser harms  provision and  I would
                      depart downward to the mandatory minimum
                      of  60 months in this case.  But I do not
                      do   so,  because   I  believe   [as  the
                      government   has   argued],  that   5H1.4
                      precludes    that   kind    of   analysis
                      [paragraph structure omitted].

            The government also said  it believed the Guidelines  gave it

            no flexibility as to its recommendation.

            Guidelines Analysis
            ___________________

                      The question  presented is  a legal one  of whether

            Guidelines  section  5H1.4,  concerning "Physical  Condition,

            Including Drug . .  . Dependence or Abuse" prohibits  a trial

            judge on  these facts  from considering a  downward departure

            under  Guidelines   section   5K2.11,  the   "lesser   harms"

            provision.   We  give substantial  deference to  the district

            court's  findings  that   the  factual  predicates   for  the

            application  of both  section  5H1.4 and  section 5K2.11  are

            present.

                      Review of  the sentencing court's fact  findings is

            for clear error  and we "will not  disturb supported findings

            unless our scrutiny of the record convinces us that a serious

            mistake was made."   United  States v. Sklar,  920 F.2d  107,
                                 ______________    _____

            110-11 (1st  Cir. 1990) (citations omitted).   The sentencing

            court  found that:  (i) Carvell  had a  psychological problem

            that precipitated  his dependence;  (ii) Carvell  believed he

            needed  to use  marijuana in  order  to prevent  himself from

            committing  suicide;  (iii) he  had tried  legally prescribed


                                         -7-
                                          7















            drugs, but they had  failed, and he had turned  to marijuana;

            (iv) at least one doctor had advised Carvell to use marijuana

            to  alleviate his  problem;  and (v)  Carvell  would not  use

            marijuana again because he  had found legally available drugs

            that worked to solve  his problem.  The district  court found

            that  Carvell believed that using marijuana  was the only way

            he  could keep from committing suicide and that, as a factual

            matter, Carvell would qualify  for a downward departure under

            the  lesser harms  provision of  the Guidelines.   These fact

            determinations  are for  the  sentencing court.   See  United
                                                              ___  ______

            States v.  Rivera, 994 F.2d  942, 950  (1st Cir. 1993).   The
            ______     ______

            record contains no basis  for disturbing the district court's

            fact findings here.  

                      We  review de  novo the  legal question  of whether
                                 __  ____

            section 5H1.4 precludes any downward  departure under section

            5K2.11.  See United States v. Schultz, 970 F.2d 960, 962 (1st
                     ___ _____________    _______

            Cir.  1992)  ("The  legal  determination  as  to  the  proper

            interplay  among  related guidelines  is  subject to  plenary

            review."),  cert.  denied,  113  S.  Ct. 1020  (1993).    The
                        _____  ______

            government  urged and the  sentencing judge felt  that he was

            barred  from  granting  Carvell a  downward  departure  under

            section   5K2.11,2  the  "lesser  harms"  provision,  because


                                
            ____________________

            2.  Section 5K2.11 provides in pertinent part:

                      Lesser Harms (Policy Statement)
                      ____________


                                         -8-
                                          8















            section  5H1.43  prohibits   downward  departures  for   drug


                                
            ____________________

                      Sometimes, a defendant may commit a crime
                      in  order to  avoid  a perceived  greater
                      harm.    In  such  instances,  a  reduced
                      sentence  may  be  appropriate,  provided
                      that   the  circumstances   significantly
                      diminish society's  interest in punishing
                      the conduct,  for example, in the case of
                      a  mercy killing.   Where the interest in
                      punishment or deterrence is  not reduced,
                      a   reduction   in   sentence    is   not
                      warranted. . . .

                      In other instances, conduct may not cause
                      or threaten the harm or evil sought to be
                      prevented  by  the  law  proscribing  the
                      offense at  issue.  For example,  where a
                      war  veteran possessed  a machine  gun or
                      grenade as a trophy,  or a school teacher
                      possessed  a   controlled  substance  for
                      display  in a  drug education  program, a
                      reduced sentence might be warranted.

            U.S.S.G.   5K2.11, p.s. (Nov. 1994).


            3.  Section 5H1.4 provides in relevant part:

                      Physical  Condition,  Including  Drug  or
                      _________________________________________
                      Alcohol   Dependence  or   Abuse  (Policy
                      ________________________________
                      Statement)

                      . . . Drug or alcohol dependence or abuse
                      is not a  reason for imposing  a sentence
                      below the guidelines.  Substance abuse is
                      highly   correlated   to   an   increased
                      propensity to commit crime.  Due  to this
                      increased risk, it is  highly recommended
                      that a defendant who is incarcerated also
                      be sentenced to supervised release with a
                      requirement that defendant participate in
                      an     appropriate    substance     abuse
                      program. . . .

            U.S.S.G.   5H1.4, p.s. (Nov. 1994).



                                         -9-
                                          9















            "dependence" or  "abuse."   Section 5H1.4 provides  that drug

            "dependence  or abuse is not a reason for imposing a sentence

            below  the  Guidelines,"  U.S.S.G.     5H1.4,  p.s. (emphasis

            added), while section 5K2.11 allows a departure in sentencing

            where a  defendant "commit[s]  a crime  to avoid  a perceived

            greater harm,"  U.S.S.G.   5K2.11,  p.s., in  this case,  the

            taking of his own life.

                      We  hold that  a  district court  has authority  to

            consider a downward departure under section  5K2.11, provided
                                                                 ________

            there  is  an appropriate  factual  predicate,  even if  that
            _____________________________________________

            predicate subsumes particular  facts that would  be precluded

            by section 5H1.4 from forming a basis for departure.  To hold

            otherwise  would  be  inconsistent  with the  intent  of  the

            Commission as  expressed in  the relationship between  Part H

            and Part K, in section 5K2.11 itself, and in the relationship

            among other sections  of the  Guidelines.  It  would also  be

            inconsistent  with the  method  of analysis  adopted by  this

            Circuit in United  States v.  Sklar, 920 F.2d  107 (1st  Cir.
                       ______________     _____

            1990). 

                      The  structure of  the Guidelines  illuminates that

            there is no necessary conflict between the two sections.  Cf.
                                                                      ___

            United Savings Ass'n  v. Timbers of  Inwood Forest, 484  U.S.
            ____________________     _________________________

            365,  371 (1988) (individual  statutory provisions  should be

            interpreted  in   light  of  their   relationship  to   other

            provisions).   The  "drug dependence" downward  departure bar



                                         -10-
                                          10















            appears  in Chapter 5, Part  H of the  Guidelines, which sets

            forth  "specific  offender  characteristics"  that  "are  not

            ordinarily  relevant  to  the  determination  of  whether   a

            sentence should be  outside the applicable  guideline range."

            U.S.S.G.  Ch.5,  Pt.H,  intro. comment.    Having discouraged

            certain types of characteristics in Chapter 5, Part H as "not

            ordinarily relevant" to departures,  the Commission then went

            on in Part K  of Chapter 5 to specify permissible grounds for

            departures.   U.S.S.G. Ch.5, Pt.K.   Part K  first provides a

            general  statement concerning  departures in  cases involving

            factors   not  adequately   considered  by   the  Commission.

            U.S.S.G.    5K2.0, p.s.   Part K then  lists specific grounds

            that  may warrant  departure,  including  the "lesser  harms"

            provision.

                      In light of this structure, the fact that  a factor

            described  in Chapter 5, Part H as a discouraged or forbidden

            ground for departure  is present  in a case  does not  itself

            necessarily  negate departure  based on a  permissible ground

            carefully  detailed  by the  Commission in  Part  K.   Part K

            complements Congress' goal that the Guidelines not be imposed

            "in a mechanistic fashion."  S. Rep. No. 225, 98th  Cong., 2d

            Sess. 4 (1984), reprinted  in 1984 U.S.C.C.A.N. 3182, 3234-35
                            _________  __

            ("The sentencing guidelines system will not remove all of the

            judge's sentencing  discretion.   Instead, it will  guide the

            judge in making his  decision on the appropriate sentence.").



                                         -11-
                                          11















            Congress  intended  "the sentencing  judge  [to  act on  her]

            obligation to consider all the relevant factors in a case and

            to impose a sentence outside the guidelines in an appropriate

            case."  1984 U.S.C.C.A.N. at 3235.

                      The  limitation contained  within the  text  of the

            "lesser harms" provision, section  5K2.11, sheds light on its

            scope in relation  to section 5H1.4.  Section 5K2.11 provides

            that "[w]here the interest in punishment or deterrence is not

            reduced, a reduction in sentence is not warranted."  U.S.S.G.

              5K2.11, p.s.   Here, where the record  clearly demonstrates

            that the  alternative to  Carvell's marijuana use  might well

            have  been  the  taking of  his  own  life,  the interest  in

            punishment   or  deterrence  of  drug  "manufacturing"  could

            reasonably be thought  to be  reduced.  In  contrast, in  the

            ordinary drug  dependence case, it  is difficult  to see  how

            that  limitation in  section 5K2.11  could be  avoided.   The

            Commission  has   specified   that  society's   interest   in

            punishment and deterrence outweighs the "drugs made me do it"

            excuse  for  crimes committed  to feed  drug habits  or while

            under  the  influence  of  drugs.    U.S.S.G.    5H1.4,  p.s.

            Moreover, claims of being driven  to drugs by the habituation

            of  prior  drug   use,  disadvantaged   upbringing  or   poor

            socioeconomic  life  conditions  have  been  weighed  by  the

            Commission and found insufficient ordinarily to overcome  the





                                         -12-
                                          12















            societal interest in  deterrence and  punishment.4   U.S.S.G.

               5H1.4, p.s., 5H1.10, p.s. &amp; 5H1.12, p.s.

                      This  is  not a  case  where  the defendant's  drug

            dependence is  the very element driving  the applicability of

            the  "lesser  harms" provision.    The  risk of  suicide  for

            Carvell  was not  a  byproduct of  his  drug dependence:  the

            district  court credited  Carvell's  testimony  that fear  he

            would take his own life led him to use drugs, not vice versa.

            The avoidance  of suicide, not  drug use, drives  the "lesser

            harms" analysis here.

                      Nor  is  there  reason  to think  that  a  downward

            departure here  would be inconsistent with  U.S.S.G.   5H1.3,

            p.s.,   which  discourages   consideration  of   "mental  and

            emotional  conditions" as  grounds  for  departure.   Section

            5H1.3  explicitly   permits  consideration  of   "mental  and

            emotional conditions"  when they are provided  for in Chapter

            5,  Part  K, Subpart  2.   U.S.S.G.    5H1.3,  p.s.   That is






                                
            ____________________

            4.  Further, as  Judge Selya's important and  seminal article
            on the  Sentencing Guidelines notes,  departures based solely
            on  drug  dependence  could  "confer a  benefit  on  addicted
            defendants  that is  unavailable to similarly  situated drug-
            free defendants  (and thus would create  a perverse incentive
            to develop such a problem)."   Bruce M. Selya &amp; Matthew Kipp,
            An Examination of Emerging Departure Jurisprudence  under the
            _____________________________________________________________
            Federal Sentencing  Guidelines, 67 Notre  Dame L. Rev.  1, 35
            ______________________________
            (1991)  (footnote  omitted).    No such  incentive  would  be
            created by a downward departure here under section 5K2.11.  

                                         -13-
                                          13















            exactly  where  section  5K2.11  is located.5    Indeed,  the

            Commission chose to leave the limitation in section 5K2.11 to

            cases where the interest in  deterrence or punishment was not

            reduced.  See U.S.S.G.  5K2.11.
                      ___

                      Our conclusion that the "drug dependence" departure

            bar  does not  preclude  a "lesser  harms" departure  here is

            consistent with the  law of this Circuit concerning whether a

            defendant's post-arrest rehabilitation  from drug use can  be

            considered  as a  sentencing  factor.   In  United States  v.
                                                        _____________

            Sklar, 920 F.2d 107  (1st Cir. 1990), this Court  said that a
            _____

            defendant's drug rehabilitation  could be taken  into account

            at  least  as  a  factor in  deciding  whether  departure  is

            warranted and that, if "significantly unusual," a defendant's

            post-arrest rehabilitation might itself  provide a ground for

            downward departure.6   This was so  although drug "dependence

                                
            ____________________

            5.  See United States v.  Hines, 26 F.3d 1469, 1478  n.6 (9th
                ___ _____________     _____
            Cir.  1994)  (mental  and  emotional  conditions relevant  in
            determination  that  upward  departure is  warranted  to  the
            extent permitted in section 5K2.0); United States v. Russell,
                                                _____________    _______
            917 F.2d  512, 517  (11th Cir.  1990)  (mental and  emotional
            conditions relevant in determination of downward departure to
            the extent  provided in  section 5K2.12 (coercion  or duress)
            and 5K2.13 (diminished capacity)), cert. denied, 499 U.S. 953
                                               _____ ______
            (1991); United States v. Saldana, Crim. No. 88-00196, 1989 WL
                    _____________    _______
            61140, *2 (M.D.Pa. May  19, 1989) (downward departure allowed
            under the  "lesser harms" provision  where defendant's mental
            and emotional  condition resulted in his  perception that the
            commission of crime was warranted to avoid a greater harm).

            6.  Sklar held that,  ordinarily, post-arrest  rehabilitation
                _____
            is not  a grounds  for departure because  such rehabilitation
            can adequately be taken into account through the  granting of
            acceptance-of-responsibility  credit under  U.S.S.G.   3E1.1.
            See Sklar, 920 F.2d at 115-16.
            ___ _____

                                         -14-
                                          14















            or  abuse"  necessarily  precedes  rehabilitation,  like  sin

            precedes salvation.7  See id. at 115-16 &amp; n.9.  There is even
                                  ___ ___

            less  reason to  believe  that section  5H1.4 bars  departure

            here, where the defendant's perception that he was avoiding a

            greater harm,  unlike a  defendant's drug rehabilitation,  is

            expressly  permitted  by  the  Guidelines  as  a  ground  for

            downward departure.8   Cf.  United States  v. Hines, 26  F.3d
                                   ___  _____________     _____

            1469, 1478 (9th Cir. 1994)  (district court had authority  to

            consider  upward departure  from Guidelines  criminal history

            category based  on defendant's dangerous  mental condition as

            provided in U.S.S.G.   4A1.3, even though mental condition is

            ordinarily discouraged  as a ground for  departure by section

            5H1.3).

                      Concluding  that  the  "drug dependence"  provision

            does  not here  bar  a downward  departure where  the "lesser

                                
            ____________________

            7.  See  also United States v.  Harrington, 947 F.2d 956, 962
                ___  ____ _____________     __________
            (D.C.  Cir. 1991) (en banc).  In his dissent, Judge Silberman
            took  the contrary  position  that  rehabilitation cannot  be
            taken  into   account  either  under  section   3E1.1  or  in
            considering departure  from the Guidelines  sentence, arguing
            that "the Commission rejected drug dependence   and therefore
            rehabilitation   as a sentencing factor under section 5H1.4."
            Id. at 970 (Silberman, J., dissenting).
            ___

            8.  Similarly,   in  section   5K2.12,  the   Commission  has
            explicitly  allowed departures  where  coercion or  duress is
            shown.  The fact that age or gender might be a factor in such
            coercion  has not  barred such  departures, although  each is
            itself prohibited as a ground for departure under U.S.S.G.   
            5H1.1, p.s. &amp; 5H1.10, p.s.  See United States v. Johnson, 956
                                        ___ _____________    _______
            F.2d 894, 898  (9th Cir. 1992);  United States v.  Whitetail,
                                             _____________     _________
            956  F.2d 857, 862 (8th Cir. 1992); United States v. Gaviria,
                                                _____________    _______
            804  F. Supp. 476,  479-80 (E.D.N.Y. 1992);  United States v.
                                                         _____________
            Naylor, 735 F. Supp. 928, 929 (D. Minn. 1990).
            ______

                                         -15-
                                          15















            harms" provision simultaneously provides a permissible ground

            for  such a departure,  we reach and  reject the government's

            argument  that there  is  yet another  bar.   The  government

            argues  that  marijuana's  classification  as  a  Schedule  I

            substance under the Controlled  Substances Act, see 21 U.S.C.
                                                            ___

              812, evidences  a legislative determination  that marijuana

            "has no currently accepted medical use for treatment," id. at
                                                                   ___

              812(b)(1)(B), and thus  precludes a  downward departure  on

            the facts here.  That conclusion does not follow.

                      There   is   no  inconsistency   between  Carvell's

            downward  departure claim and the classification of marijuana

            as  a Schedule  I  substance.   Deciding  whether a  downward

            departure is warranted under section 5K2.11 in this case does

            not  require  an  examination  of  whether  marijuana  has  a
            ___

            "currently accepted medical  use," 21 U.S.C.   812(b)(1)(B),9

            or  satisfies the other factual  criteria for being listed on

            Schedule  I.  Nor does the section 5K2.11 inquiry even depend

            upon  a  determination of  whether  the  medical benefits  of

            Carvell's marijuana use in his particular case outweighed the

            risks.   Rather, the sole dispositive  question under section

            5K2.11  is  whether    taking as  given  that marijuana  is a
                                              _____

            Schedule I  substance and has no  "currently accepted medical

            use for treatment"   the defendant here committed the offense

                                
            ____________________

            9.  See  also 57  Fed.  Reg. 10,499,  10,506 (Mar.  26, 1992)
                ___  ____
            (final order of Administrator  of DEA, setting forth specific
            criteria for finding "currently accepted medical use").

                                         -16-
                                          16















            conduct "in order  to avoid a  perceived greater harm,"  thus

            falling  under section  5K2.11.   We  hold that  the district

            court had  discretion to consider a  downward departure under

            section 5K2.11.

            Carvell's  Commerce Clause  Attack on  21 U.S.C.    841(a)(1)
            _____________________________________________________________

                      Carvell  argues that  there  was no  crime, as  the

            district court lacked subject  matter jurisdiction in that 21

            U.S.C.    841(a)(1),  as applied  to him,  exceeded Congress'

            power  under the Commerce Clause.  He raises the argument for

            the  first  time on  appeal,  positing that  the  argument is

            nonetheless timely because his guilty plea was entered before

            the  decision  in United  States v.  Lopez,  115 S.  Ct. 1624
                              ______________     _____

            (1995).

                      More than  ever, we  have reason  to adhere  to the

            normal rule that issues not raised below will not be heard on

            appeal unless there was plain error.  United States v. Olano,
                                                  _____________    _____

            113  S. Ct. 1770,  1776-77 (1993); United  States v. Luciano-
                                               ______________    ________

            Mosquera, 63 F.3d  1142, 1156 (1995).  This  is not a change-
            ________

            in-the-law  situation  which  might  incline  us  to  a  more

            sympathetic  view of the  failure of counsel  to be prescient

            enough to raise an issue in  the trial court when the law was

            firmly against defendant at  the time.  Cf. United  States v.
                                                    ___ ______________

            London, 66  F.3d 1227,  1239-40 (1st  Cir. 1995)  (waiver was
            ______

            excusable where instructions, when given, were in  accordance

            with newly  minted en  banc decision  of the First  Circuit);



                                         -17-
                                          17















            United  States  v. Collins,  60 F.3d  4,  7 (1st  Cir. 1995).
            ______________     _______

            Lopez  was argued to the  Supreme Court on  November 8, 1994,
            _____

            and  the challenges made there  were no secret.   Carvell was

            arrested on October  31, 1994,  his plea was  on January  23,

            1995,  and he  was sentenced  on  June 1,  1995.   Lopez  was
                                                               _____

            decided on April 26,  1995, well before Carvell's sentencing,

            giving him ample  time to move to withdraw  his plea based on

            Lopez.
            _____

                      Not only  does Carvell's  claim not fit  within the

            category of  exceptional cases where review  of waived issues

            will be permitted,  United States v. Krynicki, 689  F.2d 289,
                                _____________    ________

            291-92  (1st Cir.  1982), but  there is  every reason  not to

            undertake to resolve a  matter as serious a challenge  to the

            constitutionality  of  a  criminal  statute  without adequate

            notice to the government  and without the benefit of  a fully

            developed   factual  record  (to the  extent necessary),  the

            sharpening of the issues at  trial, and the district  court's

            reasoning.   We decline the  invitation to so  engage.10  The

                                
            ____________________

            10.  Carvell's argument faces the additional  barrier that it
            is made in the context of a valid guilty plea.  A guilty plea
            and  the ensuing conviction comprehend all of the factual and
            legal  elements   necessary  to  sustain  the   judgment  and
            sentence,  and any  subsequent  attack on  the conviction  is
            normally  limited to inquiry as  to the validity  of the plea
            and plea  hearing.  See United States v. Broce, 488 U.S. 563,
                                ___ _____________    _____
            569 (1989); United States v. Martinez-Martinez, 69 F.3d 1215,
                        _____________    _________________
            1224 (1st  Cir. 1995);  Valencia v.  United States,  923 F.2d
                                    ________     _____________
            917, 920 (1st  Cir. 1991).   However, since  Carvell has  not
            preserved his  Commerce Clause challenge for  appeal, we need
            not  decide whether  this doctrine  also  bars his  claim, or
            whether any of the  narrow exceptions that exist where  it is

                                         -18-
                                          18















            district  court's  "failure" to  consider sua  sponte whether

            there  were  Commerce  Clause  restrictions   to  defendant's

            prosecution was not clearly  in error, and did not  produce a

            gross  miscarriage  of   justice  or  seriously   affect  the

            fairness,  integrity  or  public reputation  of  the judicial

            proceedings.  Olano, 113 S. Ct. at 1779.
                          _____

            Conclusion
            __________

                      The sentencing court determined that it would grant

            Carvell  a downward  departure  of ten  months under  section

            5K2.11,  the  "lesser  harms"  provision,  to  the  mandatory

            minimum sentence of  sixty months, were such a  departure not

            barred by section 5H1.4.  Having concluded that section 5H1.4

            does  not bar  the  departure in  this  case, we  vacate  the
                                                              ___________

            sentence  and remand  for resentencing  with the  instruction
            _____________________________________________________________

            that  Carvell be sentenced to the  mandatory minimum of sixty
            _____________________________________________________________

            months.  
            ______















                                
            ____________________

            evident  that "on  the face of  the record  the court  had no
            power to enter the conviction or impose the sentence," Broce,
                                                                   _____
            488 U.S. at 569, are available here.

                                         -19-
                                          19









